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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

               Plaintiff,

vs.                                                                           No. CR 09-0865 JB

CAROLYNNE TILGA and
MICHAEL CHANDLER,

               Defendants.


                            MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court on: (i) Defendant Carolynne Tilga’s Memorandum

in Aid of Sentencing of Defendant Carolynne Tilga and Limited Objections to Presentence Report,

filed October 6, 2011 (Doc. 161)(“Tilga Sentencing Memo”); (ii) the Government’s Sentencing

Memorandum, filed October 8, 2011 (Doc. 162)(“U.S. Sentencing Memo”); and (iii) Defendant

Carolynne Tilga’s Supplementary Memorandum in Aid of Sentencing, filed January 6, 2012 (Doc.

168)(“Tilga Supplement”). The Court held a sentencing hearing on January 13, 2012. The primary

issues are: (i) whether the Court should depart downward on Defendant Carolynne Tilga’s sentence;

(ii) whether the Court should vary downward on Tilga’s sentence; and (iii) whether the Court should

impose a non-custodial sentence. The Court will grant in part and deny in part the requests in the

Tilga Sentencing Memo and in the Tilga Supplement. The Court will deny the request in the U.S.

Sentencing Memo that the Court impose a sentence at the top of the advisory guideline range. For

the reasons set forth on the record and below, the Court sentences Tilga to 8-months imprisonment.
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                                PROCEDURAL BACKGROUND

       A federal grand jury indicted Tilga for a Klein conspiracy1 to defeat the administration of

the tax laws of the United States during the period 1998 to 2006 in violation of 18 U.S.C. § 371 and

with tax evasion for the years 1999 to 2004 in violation of 26 U.S.C. § 7201. See Redacted

Indictment, filed April 9, 2009 (Doc. 2)(“Indictment”). On January 6, 2011, Tilga pled guilty to the

Klein conspiracy. See Plea Agreement ¶ 3, at 2. In her Plea Agreement, Tilga waived her right to

appeal any sentence at or under the maximum statutory penalty authorized. See Plea Agreement

¶ 22, at 13. After Tilga filed objections to the PSR, the Court entered a memorandum opinion and

order. See Memorandum Opinion and Order, file November 8, 2011 (Doc. 165)(“MOO”). In its

MOO, the Court determined that the tax-loss calculation for the conspiracy was $23,200.00 and that

Tilga used sophisticated means to commit the offense. See MOO at 1. Before the Court issued its

MOO, the United States Probation Office (“USPO”) calculated that Tilga had a total offense level

of 10 and a criminal history category of I, which established a guideline imprisonment range of 6

to 12 months. PSR ¶ 94, at 37. With the two-level sophisticated means enhancement pursuant to

U.S.S.G. § 2T1.1, see MOO at 59, Tilga now has a total offense level of 12 and a guideline

imprisonment range of 10 to 16 months.

       In her sentencing memorandum and supplement, Tilga asks that the Court vary from the

guideline range, under the 18 U.S.C. § 3553(a) factors, to a non-custodial sentence. See Tilga



       1
          A conspiracy to defeat the Internal Revenue Services’ lawful function and victimize the IRS
is known as a Klein conspiracy. See United States v. Adkinson, 158 F.3d 1147, 1154 (11th Cir.
1998)(citing United States v. Klein, 247 F.2d 908 (2d Cir. 1997)). To show a Klein conspiracy the
United States must show not only (i) the requisite act of a failure to properly report income, but also
(ii) an agreement between at least two conspirators to impede the IRS’ functioning and (iii) knowing
participation in such a conspiracy. See United States v. Adkinson, 158 F.3d at 1153; United States
v. McKee, 506 F.3d 225, 238 (3d Cir. 2007).

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Sentencing Memo at 12. Tilga argues that the following facts support a non-custodial sentence:

(i) her extraordinary restitution -- the approximately $3,300,000.00 in taxes and interest that Tilga

paid to the United States; (ii) it is extremely unlikely that she will engage in similar conduct in the

future; and (iii) a non-custodial sentence will not produce a disparity among similarly situated

defendants. See Tilga Sentencing Memo at 13-18. In her supplement, Tilga adds that her

extraordinary family circumstances -- as a stay-at-home mother to her two home-schooled children,

one of whom suffers from cataracts, sensory integration disorder, and attention deficit/hyperactivity

disorder -- counsel in favor of a non-custodial sentence. See Tilga Supplement at 6-8. Tilga also

asserts that the Court should depart from the guideline range, because the totality of the

circumstances fall outside the heartland of cases. See Tilga Sentencing Memo at 18. Tilga asserts

that the following circumstances support a departure: (i) the extraordinary restitution she paid; and

(ii) her family circumstances. See Tilga Sentencing Memo at 19. She contends that she is a true

first-time offender who does not need to be punished further, and that a non-custodial sentence will

serve the public interest, Tilga, and Tilga’s family. See Tilga Supplement at 10-11.

       Plaintiff United States of America argues that the Court should sentence Tilga at the top of

the advisory guidelines range. See U.S. Sentencing Memo at 17. The United States argues that

Tilga was wealthy, well-educated, the product of a stable home, physically healthy, and living a life

of privilege when she chose to commit her offense. See U.S. Sentencing Memo at 18. It asserts

that, given these circumstances, her offense is more egregious and motivated “by sheer greed in the

face of conspicuous wealth.” U.S. Sentencing Memo at 18. The United States contends that the

Court should not vary or depart from the applicable guideline range, because her family

circumstances are not unusual, other educational options are available for her children, and, often,

a defendant’s family suffers when a parent is incarcerated. See Government’s Response to

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Defendant Carolynne Tilga’s Supplementary Sentencing Memorandum at 4-7, filed January 10,

2012 (Doc. 169).

       The Court held a hearing on January 13, 2012. At the hearing, Tilga’s arguments with

respect to a departure substantially mirrored those made in her briefing, emphasizing her family

circumstances and restitution. See Transcript of Hearing at 4:6-16:19 (January 13, 2012)(Court,

Theus)(“Tr.”).2 When the Court asked whether Tilga had the ability to pay a fine, Tilga responded

that there are a number of contingent liabilities that she faces, including Internal Revenue Service

penalties, that could impact her ability to pay a fine. See Tr. at 16:10-17:18 (Court, Theus). The

United States asserted that the restitution Tilga paid was negotiated as part of her Plea Agreement

and that it is inappropriate to characterize such restitution as extraordinary. See Tr. at 18:5-17

(Gerson). The United States’ argument, with respect to a departure, also largely conformed with

its arguments in the briefing. See Tr. at 19:7-20:14 (Gerson). Tilga then allocuted before the Court.

See Tr. at 22:5-26:2 (Tilga). The United States then argued in support of a high-end guideline

sentence, because Tilga’s conduct was beyond the garden-variety tax case. See Tr. at 26:17-33:3

(Gerson).    The Court asked whether it was appropriate to sentence Tilga to 16-months

imprisonment, when the United States, before the Court overruled the sophisticated-means

objection, was satisfied with a 12-month sentence. See Tr. at 33:4-14 (Court). The United States

responded that its position has always been that Tilga should be sentenced at the high end of the

guideline range. See Tr. at 33:15-25 (Gerson). With respect to a fine, the United States asserted that

the statutory maximum is $250,000.00 and that, given Tilga’s financial resources, the Court should

impose a fine. See Tr. at 35:2-9 (Gerson).


       2
        The Court’s citations to the transcript of the hearing refer to the court reporter’s original,
unedited version. Any final transcript may contain slightly different page and/or line numbers.

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                                             ANALYSIS

        The Court will vary downward and sentence Tilga to 8-months imprisonment. The Court

does not believe that a non-custodial sentence is appropriate under the circumstances of this case.

The Court will also impose a fine on Tilga reflecting that the costs that she has and will impose on

the United States.

I.     THE COURT WILL DENY THE REQUEST FOR A DOWNWARD DEPARTURE.

        Tilga requests that the Court depart downward, because of the restitution she paid and

because of her family circumstances. See Tilga Supplement at 6-8. The Court will deny these

requests.

        The Court recognizes Tilga’s proportionality argument and does not discount the restitution

that she paid. When the Court looks to the scheme and dollars involved in the conspiracy, however,

the Court does not believe that such restitution justifies a downward departure. The Court is

cognizant of the fact that most of the restitution Tilga has paid is taxes which she owed. The Court

does not believe that the restitution Tilga paid takes her case out of the heartland of tax cases, where

many individuals are able to pay the amount owed. Additionally, Tilga’s payment of restitution is,

to some degree, taken into account when she receives a 2-level reduction in her total offense level

for acceptance of responsibility. See PSR ¶ 45, at 21. Moreover, as a condition of her Plea

Agreement, Tilga promises to make efforts to pay any taxes due and owing on all of her tax returns

since 1998. See PSR ¶¶ 13-15, at 11-12. This restitution is part of the bargain she struck with the

United States, in which the United States promised to move to dismiss Counts 2 through 7 of the

Indictment, not to bring additional criminal charges, and to terminate all tax investigations of Tilga.

See Plea Agreement ¶ 23, at 14. At the hearing, the United States Moved to dismiss the outstanding

counts of the Indictment and stated that it would file a written motion to dismiss those counts. See

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Tr. at 60:2-11 (Court, Gerson, Theus). Moreover, even in the cases on which Tilga relies, restitution

is a discouraged factor to support a departure. See United States v. Kim, 364 F.3d 1235, 1242 (11th

Cir. 2004)(“We therefore conclude that extraordinary restitution is a discouraged factor.”).

Unfortunately, often in tax cases the defendant is wealthy or a professional, who has the capacity

to pay his or her taxes, but chooses to try to avoid this obligation. This case remains within the

heartland of cases. The Court does not believe that the restitution Tilga paid is so extraordinary to

justify a downward departure. Even if a departure were warranted, the Court would exercise its

discretion not to depart in this case.

        With respect to Tilga’s family ties, the United States Sentencing Commission has noted that

“family ties and responsibilities are not ordinarily relevant in determining whether a departure may

be warranted.” U.S.S.G. § 5H1.6. The Court notes that home-schooling is largely a choice and that,

although one of Tilga’s daughters has some health problems, her daughter’s health problems are not

so significant that she could not attend public school. Unfortunately, because of the volume of cases

in the District of New Mexico, the Court sees many defendants with children, and the Court must

put these circumstances in context. Departures for family ties and circumstances are certainly an

appropriate ground for a departure, but it is a ground that must be invoked with caution. The Court

notes that the children’s father is an available caretaker and that there are other possible caretakers

available. In a prior case, the Court permitted a downward departure under this guideline where the

defendant had a daughter and a grandchild with severe health problems, both of whom required

significant attention and could not live alone. See United States v. Martinez, No. 09-3078, 2011 WL

6828055, at *5 (D.N.M. Dec. 19, 2011)(Browning, J.). Additionally, the daughter’s father was a

severe alcoholic whom was unable to care for children, and the defendant had no family members

living in or near New Mexico. See United States v. Martinez, 2011 WL 6828055, at *5.

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Furthermore, the Court has denied departures under this guideline in cases with more compelling

facts than this one. For example, in United States v. Ledezma-Ledezma, No. 10-1924, 2011 WL

3957553 (D.N.M. Sept. 2, 2011)(Browning, J.), the Court denied a downward departure under this

guideline when the defendant argued he had traveled to the United States to protect his children,

who one of his stepchildren was allegedly sexually abusing. See 2011 WL 3957553, at *2-3.

Children often suffer from the choices their parents make, but the Court does not believe it is

appropriate to depart on this basis, where Tilga’s children are better off than many and there is no

danger to the children’s health. This case remains within the heartland of cases.

II.    THE COURT WILL GRANT IN PART AND DENY IN PART THE REQUEST FOR
       A VARIANCE AND WILL IMPOSE A FINE.

       The Court has carefully considered the guidelines. Specifically, the Court has considered

the guideline sentencing range established for the applicable category of offense committed by the

applicable category of defendant. Tilga has a total offense level of 12 and a criminal history

category of I, which establishes a guideline imprisonment range of 10 to 16 months.

       After careful consideration of the facts and circumstances of this case, the Court concludes

that the punishment set forth in the guidelines is not appropriate for this offense. The Court believes

that the guidelines produce a sentence that is slightly higher than necessary to achieve the purposes

of 18 U.S.C. § 3553(a). The Court believes that there are four factors which warrant some variance.

First, although the restitution does not take the case out of the heartland, the Court recognizes that

Tilga has paid a sizeable amount in restitution. Given this restitution, it is unlikely that the United

States is still suffering a loss, but has been made whole. The Court believes that the amount of

restitution and that the United States has been made whole warrants some variance. Second, the

Court believes that there has been some rehabilitation and that she has accepted responsibility for


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her actions. Given Tilga’s position in society, this conviction is a staggering blow, and the Court

believes that she has re-evaluated her choices. The Court does not believe that Tilga will recidivate

and takes her at her word that she has undergone some internal changes as a result of this case.

Third, any period of incarceration will place a burden on Tilga’s children, who are home-schooled

and have some health issues. Finally, the Court believes that Tilga’s place within the community

and the stigma she has faced within that community makes it unnecessary to emphasize some of the

18 U.S.C. § 3553(a) factors. On the other hand, this offense is a very serious crime.

       Before the Court found that a 2-level sophisticated-means enhancement should apply to

Tilga’s conduct, the United States argued in favor of a 12-month sentence, which was at the high-

end of the then-applicable guideline range. The Court believes that the appropriate starting place

is at 12 months, because originally the United States sought, and was satisfied with, a 12-month

sentence. Although the Court ordinarily sentences at the bottom of the guideline range, the Court

does not believe a sentence at the low-end of the guidelines is an appropriate starting point here.

Twelve months marks an appropriate starting point for sentencing, because Tilga is wealthy and she

committed this crime to increase her wealth -- not to support a needy family. Tilga could have lived

very lavishly without this fraud. The Court also agrees with the United States that this is not the

classic example of aberrant behavior. This conspiracy continued for a significant period of time.

With a 12-month starting point and four factors weighing in favor of a variance, the Court believes

that a sentence of 8-months imprisonment is appropriate and adequately reflects the 18 U.S.C.

§ 3553(a). The Court believes that to vary further would not provide a just punishment. The Court

does not believe that it needs to deter Tilga from committing this offense again, but the Court has

to emphasize general deterrence. The public has to know that her crime is a serious offense and that

wealthy white-collar defendants, not just indigent defendants, will be punished. Equal justice before

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this Court demands similar treatment of wealthy and indigent defendants. The Court also does not

believe that it has to emphasize protecting the public from Tilga, but again, believes that some

incarceration is necessary to protect the tax structure and prevent people from attempting to take

advantage of the United States. The Court believes that anchoring the sentence to the guideline

range and then varying based on Tilga’s individual circumstance is the best way to avoid

unwarranted sentencing disparities among defendants with similar records who have been found

guilty of similar conduct. Such a method also remains as true as possible to the policies expressed

in the guidelines and yet allows the Court to tailor a sentence individually for Tilga. The Court

believes that, if it varies too greatly and imposes a non-custodial sentence, the sentence becomes

unanchored and could result in sentencing disparities. Furthermore, the Court does not believe that

a non-custodial sentence adequately reflects the seriousness of the offense, promotes respect for the

law, or provides general deterrence. Although the Court believes that some variance was necessary

to provide a just punishment, the Court will not vary to a non-custodial sentence. The Court

believes that an 8-month sentence accomplishes the goals of 18 U.S.C. § 3553(a), along with some

of the conditions of supervised release that the Court will impose. The Court believes that

supervised release will provide Tilga with some needed training, education and care to prevent her

from committing another offense. While the Court’s task, as a district court, is not to arrive at a

reasonable sentence -- it is to come up with one that reflects the factors in 18 U.S.C. § 3553(a), see

United States v. Conlan, 500 F.3d 1167, 1169 (10th Cir. 2007)(“[A] district court’s job is not to

impose a reasonable sentence. Rather, a district court’s mandate is to impose a sentence sufficient,

but not greater than necessary, to comply with the purposes of section 3553(a)(2).” (citation

omitted)) -- the Court believes this sentence is reasonable. Finally, the Court believes that this

sentence is sufficient without being greater than necessary to comply with the purposes of

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punishment Congress set forth in the Sentencing Reform Act of 1984, Pub. L. No. 98-473, 98 Stat.

1987 (codified as amended in scattered sections of 18 U.S.C.). The Court sentences Tilga to 8-

months imprisonment and 2 years of supervised release.

       The Court will also impose a fine of $56,141.88 as part of Tilga’s sentence. The United

States asked that the Court impose a “substantial fine” on Tilga. U.S. Sentencing Memo at 20. The

statutory maximum is a $250,000.00 fine. See 18 U.S.C. § 3571(a)(b)(3). Tilga appears able to pay

a fine. Tilga has assets in excess of $7,800,000.00 and receives approximately $26,500.00 in

monthly income. See PSR at 28-29. Tilga argued that the Court should also look to her contingent

liabilities when determining her ability to pay a fine, because the Internal Revenue Service will be

filing a civil action against Tilga and she will have other obligations to pay in the future, which will

likely be substantial. See Tr. at 17:5-18 (Theus). The Court is cognizant of those potential

liabilities; however, it may be that such liabilities are not levied or are not as substantial as Tilga

fears. The Court does not believe that the fine it will impose is so great that it will impact Tilga’s

ability to pay these future, contingent liabilities. The guidelines provide that, for an offense level

of 12 to 13, the fine range is $3,000.00 to $30,000.00. The Court finds that a fine at the high end

of the guideline range is appropriate for this offense. Accordingly, the Court begins with a fine of

$30,000.00. The Court then calculates the cost to the United States to incarcerate Tilga for eight

months, which, at a cost of $2,357.01, will be roughly $18,708.07.3 Because the Court imposed a

sentence which included 2-years of supervised release, the Court also calculates what the United

States will expend to monitor Tilga. The Court believes that, at a cost of roughly $328.20 per



       3
         The Court’s calculations at the hearing were slightly off. Eight-months imprisonment at a
cost of $2,357.01 per month would be $18,856.80. The difference of $148.10 is not great and works
in Tilga’s favor.

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month, the United States will spend approximately $7,876.80 while Tilga is on supervised release.

Accordingly, the Court imposes a fine of $56,141.88.4

          IT IS ORDERED that: (i) the requests in Defendant Carolynne Tilga’s Memorandum in Aid

of Sentencing of Defendant Carolynne Tilga and Limited Objections to Presentence Report, filed

October 6, 2011 (Doc. 161), are granted in part and denied in part; (ii) the request in the

Government’s Sentencing Memorandum, filed October 8, 2011 (Doc. 162), is denied; and (iii) the

requests in Defendant Carolynne Tilga’s Supplementary Memorandum in Aid of Sentencing, filed

January 6, 2012 (Doc. 168), are granted in part and denied in part. The Court will sentence

Defendant Carolynne Tilga to 8-months imprisonment.



                                                       _______________________________
                                                       UNITED STATES DISTRICT JUDGE

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        The Court’s calculation at the hearing was again slightly off, as these amounts add up to
$56,584.87. Here again, the difference is not great given the total amount of the fine and the error
works in Tilga’s favor.

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